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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

VITTORIO AMUSO,
Plaintiff

-vS- Civil Action No. 07-1935 (RJL)

DEPARTMENT OF JUSTICE, et. al
Defendants

AFFIDAVIT OF VITTORIO AMUSO
I, VITTORIO AMUSO, pro se, having been duly sworn, do hereby state,
certify, and declare, under the penalty of perjury, unto this Honorable Court as

follows:

1. By letter dated April 10, 2007 to FBI Headquarters, I submitted a
Freedom of Information and Privacy Act request for the following information:

[A]ny and all documents, records, memoranda, notes, statements
and other information or data in whatever form maintained by
your agency that relates to and/or makes reference to Amuso
directly or indirectly. More specifically, any data or information
in the possession or control of your agency related to and/or
generated by the criminal investigation and prosecution of
Amuso by federal authorities in and around the U. S. Federal
Districts of New York.

I specifically requested information dated from January, 1980, to the present.

2. Ina letter dated April 16, 2007, to the FBI Albany Field Office, I
 

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submitted an identical request for any and all records pertaining to me.

3. Ina letter dated May 3, 2007, from FBI Headquarters to me, the FBI
acknowledged receipt of my request and advised me that my case was assigned
FOIPA Number 1076768-000. In addition, I was advised that my FOIPA request
to the Albany field office was forwarded to FBI Headquarters for handling.

4. Ina letter dated May 7, 2007, from FBI Headquarters to me,
acknowledgement was made of my Albany FOIPA request and I was assigned
FOIPA Number 1076768-000.

5. Ina letter dated May 21, 2007, from FBI Headquarters to me, I was
advised that records which may be responsive to my Albany FOIPA request were
destroyed (date unknown). I was informed that I could file an administrative
appeal with the Office of Information and Privacy, United States Department of
Justice, Washington, D. C.

6. By letter dated June 20, 2007, from the Office of Information and
Privacy to me, I was advised of the receipt of my appeal and its assigned number.

7. Ina letter dated July 12, 2007, from me to FBI Headquarters, I inquired
about the "status of my two FOIA/PA requests sent to your office for referral to
Scranton, PA, and New York City, NY FBI field offices." I contested the referral
of my Scranton letter to FBI Headquarters. I provided copies of certified mail

receipts dated April 11, 2007, and April 26, 2007, as documentation for the
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foregoing FOIPA requests.

8. By letter dated August 8, 2007, from OIP to me, the OIP advised me
that they are affirming the actions of the FBI that resulted in my appeal for access
to records pertaining to me at the Albany Field Office and FBI Headquarters.

9. The Bureau of Prisons FOIA Office indicated that it had received a
three-page referral of information from the FBI on May 2, 2008. A
determination was subsequently made to withhold the three pages of information
in their entirety.

10. On October 25, 2007, I filed a complaint in the U. S. District Court for
the District of Columbia, seeking a release of all records responsive to my April
10, 2007 FOIA/Privacy Act request and that the FBI provide a "Vaughn" index
regarding the records at issue.

11. Thereby certify that the allegations set forth in the statement of
material facts in genuine issue and the plaintiff's response to the defendant's
motion for summary judgment, attached hereto and filed herewith, are true and
correct to the best of my knowledge and belief.

12. The FBI has performed an inadequate search in response to my direct
FOIA requests. Though the affidavits submitted by an agency are accorded a
presumption of good faith, the burden rests with the agency to demonstrate the

adequacy of its search. The agency posits that a search of the indices at the
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Albany Field Office revealed that records which may have been responsive to the
plaintiff's FOIPA request were destroyed (date unknown). The plaintiff was
never advised as to the nature of the records which were destroyed, and he was
simply advised that they were, in fact, destroyed. The only other effort
undertaken by the FBI and the BOP to locate the records was through a search of
the indices to the CRS for FBIHQ main files. The agency acted in bad faith by
failing to divulge the nature of the records and by failing to search other available
indices and records which might have contained the destroyed records.

13. The FBI released some records to the plaintiff, withheld other records
pursuant to FOIA exemptions, and referred some records to the Bureau of Prisons
for direct response to the plaintiff. The agency acted in clear-cut bad faith by
tendering documents to the plaintiff with no information on their face, such as
FBI 302's. The BOP made an improper, unilateral decision to withhold the three
pages of information which it had relevant to my inquiry.

14. The FBI improperly applied Exemption 2. The agency failed to advise
the court and me as to what records were withheld under this exemption. When
denying my request for information, the agency kept me in the blind about the
nature of the information. I was told simply that the agency had information
which was denied under Exemption 2. I was not given enough information to

make a determination as to whether or not my rights were denied.
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15. The FBI improperly asserted Exemption 6. In order to determine
whether there would be a "clearly unwarranted invasion of personal privacy," the
court must balance the interests of protecting "an individual's private affairs from
unnecessary public scrutiny," and the public's right to governmental information.
I have not been given enough information to make a determination as to whether
anyone would be subjected to a clearly unwarranted invasion of personal privacy,
and whether the proper balance has been achieved with respect to the interests of
protecting an individual's private affairs from unnecessary public scrutiny as
opposed to the public's right to governmental information.

16. While it is true that FBI SAs referenced in the responsive records,
such as the FBI 302's, maintain a substantial privacy interest in not having their
identities disclosed, the identities have heretofore been disclosed to the plaintiff
at the time of the investigation. Thus, the agency has no protected interest in
denying the documents on the basis of the SA's identity.

17. The defendants asserted Exemption (b)(6)-4 to justify the withholding
of the name and rank of a law enforcement officer of the Morris County, NJ
Prosecutor's Office and a law enforcement officer of the New York City Police
Department. The defendants assert that there is no public interest to be served by
releasing this information as this information does not shed light on the FBI's

performance of its mission.
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This information does shed light on the FBI's performance of its mission
because it describes the extent to which the FBI interacts with state and local law
enforcement agencies. The fact that the FBI is willing to disclose the location
and office of the officers concerned is indicative of how little privacy is attached
to the information.

18. Exemption (b)(6)-5 is asserted in conjunction with Exemption (b)(7)
(C)-5 to protect the names and identifying information of third party individuals
who are of investigative interest to the FBI and/or other law enforcement
agencies. The agency asserts, inter alia, that this information includes individual
names and other personal information.

The relevant information in this proceeding concerns people whose
identities were disclosed to the public many years ago, and the public policy
interest in withholding their identities has eroded over time. The agency would
have a difficult time convincing a reasonable person that a person mentioned in a
report 18 years ago has a sufficient privacy interest to override the public's
interest in disclosure at this time.

19. The FBI does not meet the threshold requirements of Exemption 7. As
a condition precedent to invoking any of the harms enumerated in Exemption 7,
an agency must first demonstrate that the records or information at issue were

compiled for law enforcement purposes. Rather than demonstrating that the
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records at issue are related to the enforcement of federal laws and that the
enforcement activity is within the law enforcement duty of the agency, the
agency redacted all of the information upon the documents extended to such an
extent that one cannot deduce whether the documents were compiled by a
government agency. The court is left to simply take the defendant's word that the
documents related to the enforcement of federal laws and that the enforcement
activity is within the law enforcement duty of the agency. The agency has not
demonstrated that the disclosure of the documents would invade personal
privacy, reveal the identities of confidential sources, reveal sensitive law
enforcement techniques, and/or reveal information which if released could
reasonably cause harm and/or endanger the life or physical safety of any
individual.

20. The FBI improperly applied Exemption 7(C). The FBI has not
performed the proper balancing function required for this exemption. The FBI is
required to balance the privacy interests of the individuals mentioned in the
records against any public interest in disclosure. If the proper balancing function
were performed, it would be clear that the public interest in disclosure, in this
case, overrides the privacy interests of the individuals mentioned in the relevant
records. The Court is left to take the agency's word rather than being given the

benefit of a balancing analysis.
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21. The defendants asserted Exemption (b)(7)(C)-1 in conjunction with
Exemption (b)(6)-1 in an effort to protect the names and/or identifying
information of FBI SA's and support personnel responsible for conducting,
assisting with and/or supervising the investigative activities reported in the
documents concerning myself and others. The FBI SA's referenced in the
responsive records do not maintain the substantial privacy interest in not having
their identities disclosed that they would for a recent investigation. In fact, the
SA's concerned have probably retired long ago.

22. The defendants asserted Exemption (b)(7)(C)-2 in conjunction with (b)
(6)-2 to protect the names and/or identifying data of individuals who assisted the
FBI by providing information within the records responsive to the plaintiff's
request. The FBI did not release the names or identities of any third parties who
assisted the FBI by providing information. What the FBI released is a stack of
FBI 302's which contain no information, all of which are useless to the plaintiff.
The release of information as to the third parties involved would shed light on the
manner in which the FBI deals with third parties, which is integral to the
operations and activities of the FBI.

23. Exemption (b)(7)(C)-4 has been asserted by the defendants in
conjunction with Exemption (b)(6)(4) to withhold the names and ranks of law

enforcement officers of the New Jersey and New York City Police Departments.
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The agency submits that releasing the identify of law enforcement employees
could subject them to unnecessary, unwarranted harassment which could
constitute an unwarranted invasion of privacy. There is a great public interest to
be served by releasing this information because this information sheds light on
the FBI's cooperation with other police entities.

24. Exemption (b)(7)(C)-5 has been asserted by the defendants in
conjunction with Exemption (b)(6)-5 to protect the names and identifying
information of third party individuals who were of investigative interest to the
FBI and other law enforcement agencies. The FBI withheld identifying
information including addresses and other personal information.

The defendants asserted that in making a determination whether to release
the names and personal information concerning these third parties, "the public's
interest in disclosure was balanced against the individual's right to privacy."
There is no evidence, however, of balancing having taken place.

25. The FBI improperly applied Exemption 7(D). The defendants posit
that Exemption 7(D) recognizes that information furnished by third parties
cooperating with federal, state, or local law enforcement investigations is, but its
very nature, confidential. There is no basis for inferring that all information
furnished by third parties cooperating with federal, state, or local law

enforcement investigations is, by its very nature, confidential. There is a host of
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information furnished by third parties which is not confidential but would be
helpful to me for my purposes.

26. The defendants assert Exemption (b)(7)(D)-1 in conjunction with (b)
(6)-2 and (b)(7)(C)-2 to protect the names, identifying information and
information provided by third parties to the FBI under an implied grant of
confidentiality during the course of the FBI's investigation of me and others. The
manner in which the "implied grant of confidentiality" is inferred is vague and
has no basis in fact.

27. Exemption (b)(7)(D)-2 has been asserted by the defendants in
conjunction with Exemption (b)(2)-1 to protect the informant file numbers of
permanent confidential symbol number sources of the FBI. The FBI has merely
provided a stack of essentially blank 302's which have numbers but there is no
way of ascertaining the significance of the numbers given the information
provided.

28. Exemption 7(E) of the FOIA provides protection for all information
compiled for law enforcement purposes when release "would disclose techniques
and procedures for law enforcement investigations or prosecutions, or would
disclose guidelines for law enforcement investigations or prosecutions if such
disclosure could reasonably be expected to risk circumvention of the law." The
essentially blank 302 forms released to me give no evidence that any techniques

and procedures used in law enforcement investigations or prosecutions were

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involved. Thus, there is no basis for withholding anything that would disclose
any techniques or procedures employed by the FBI.

29. The defendants assert Exemption (b)(7)(E)-1 in conjunction with
Exemption (b)(2)-3 to protect procedures and techniques used by FBI Special
Agents during the investigation of the plaintiff. The defendants state, "If the FBI
were to disclose the procedures as to how it conducts undercover operations and
release details of the specific techniques used during the undercover operation it
could jeopardize any future criminal investigations and undercover operations
conducted by the FBI." The agency has not released sufficient information to the
plaintiff from which he can make a determination that the exemption has or has
not been violated in this instance.

30. The FBI improperly applied Exemption 7(F). The exemption was
asserted to protect information, the release of which could reasonably be
expected to endanger the life and/or physical safety of these cooperating
individuals in light of the crimes reportedly committed by the plaintiff and
members of organized crime families. The defendants assume, without credible
evidence, that the plaintiff is a member of an organized crime family, and there is
no basis for making such an assumption. The only evidence that the plaintiff is a
member of an organized crime family is derived from the testimony of murderers
and sewer dwellers who have never spent a day in prison. It would not be a great

risk to release the identities of cooperating witnesses because the plaintiff is

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merely seeking information for his own legal purposes.

31. The FOIA requires that, if a record contains information that is exempt
from disclosure, "any reasonably segregable" information must be disclosed after
deletion of the exempt information unless the non-exempt portions are
"inextricably intertwined with exempt portions." The FBI provided 147 pages of
documents, mostly FBI 302's, to the plaintiff. These documents included a few
newspaper articles and contained no information whatsoever that had not been
redacted and withheld from the plaintiff. The substantive information on the
forms as well as the identities of the parties to the conferences were susceptible
to segregation in such a manner that the plaintiff could have been provided with
the information without violating the FOIA as well as agency standards.

32. The Federal Bureau of Prisons withheld three pages of information
from the plaintiff. There has been no evidence presented as to the nature of the
information withheld and the legal basis therefor.

I, VITTORIO AMUSO, do hereby state, certify, and declare, under
the penalty of perjury, that the foregoing representations of fact are true
and correct to the best of my knowledge and belief.

GIVEN under my hand this ae day of September, 2008.

VITTORIO AMUSO

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COMMONWEALTH OF KENTUCKY,
COUNTY OF MARTIN, to-wit:

I, , a notary public in and for the state and

 

locality aforesaid, do hereby certify that the foregoing AFFIDAVIT OF
VITTORIO AMUSO was duly subscribed and sworn to personally before me in
my state and locality aforesaid by VITTORIO AMUSO this day of

September, 2008.

( Sy My commission expires: ._
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CERTIFICATE OF SERVICE

 

I, VITTORIO AMUSO, pro se, do hereby certify that a true copy of the
foregoing AFFIDAVIT OF VITTORIO AMUSO was duly forwarded via first-
class U. S. Mail, postage pre-paid, to Charlotte A. Abel, Assistant United States
Attorney, United States Attorney's Office, Civil Division, 555 4th Street, N.W.,
Washington, D. C. 20530, this 35+h day of September, 2008.

VITTORIO AMUSO

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